Case 6:14-CV-00614-CEI\/|-TBS Document 1 Filed 04/18/14 Page 1 of 9 Page|D 1

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VELVA PE'|`ERSON

Plaintil`f,

v- Case#MLM&'l%T@S

COMENITY CAPITAL BANK

De f`cndant

COMPLAINT
Plaintif`f`, VELVA PE'I`ERSON, individually, hereby Sues Dcf`endant, COMENITY
CAPITAL BANK, for violations of` thc Fair chl Collection Practices Act (FDCPA)
lSU.S.C.§ 1692. the Florida Consurncr Collection Practiccs Act (FCCPA), FLA. STAT.
§559(Part VI), and the Tclephone Consumer Protection Act (TCPA) Scc. 22?., 47 USC §

22'?(b)(] )(A)(iii) and 47 U.S.C. §227(b)(2)(5).

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l. This is an action l`or damages and injunctive relief brought by Plaintif`f against
Dcl"cndant Comenity Capital Bank ( “Def`endant") for continued violations of the
Fair Debt Collection Practiccs Act (FDCPA) l 5 U.S.C. §1692. the Florida
Consumer Collcction Practices Act (FCCPA), FLA. STAT. §559(Part VI) and the

'I`c|cphone Consumcr Protcction Acl (TCPA) Sec. 22?., 4? USC §
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Case 6:14-CV-00614-CEI\/|-TBS Document 1 Filed 04/18/14 Page 2 of 9 Page|D 2

227(b)(1)(A)(iii) and 47 U.s.c. §227(b)(2)(5).

2. Upon belief and information, Plaintiff contends that many of these practices are
widespread by the Defendant. Plaintiff intends to propound discovery to
Defendant identifying these other individuals who have suffered similar
violations.

3. Plaintiff contends that the Defendant has violated such laws by repeatedly
harassing Plaintiff in attempts to collect alleged debt after being told that Plaintiff

did not owe, own or have anything to do with any debt to Defendant .

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4. Jurisdiction of this Court arises under 15 U.S.C. §l 681p, Fla. Stat. §47.051, and
supplemental jurisdiction exists for the state law claims pursuant to 28 U.S.C.
§1367.

5. Venue is proper pursuant to 28 U.S.C. §l39lb and Fla. Stat. §559.77. Venue in
this District is proper in that the Plaintiff resides here, the Defendant transacts
business here, and the conduct complained of occurred here.

6. This is an action for damages which exceed $5,000.00.

PARTIES

7. Plaintiff, Velva Peterson, ( “Plaintift”) is a natural person and is a resident of the
State of Florida.

8. Upon information and belief COMENITY CAPITAL BANK is a foreign corporation
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Case 6:14-CV-00614-CEI\/|-TBS Document 1 Filed 04/18/14 Page 3 of 9 Page|D 3

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incorporated in the State of Delaware and which is not authorized to do business in

Florida or registered with the Florida State Office of Financial Regulation as a

debt collector.

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On January 4, 2013 at 6:00 pm the Defendant called the Plaintiffs cell phone without
permission and with the knowledge that the number was assigned to a cell phone and using
an auto dialer.
Between January 4, 2013 and September 8, 2013 the Defendant has called the
Plaintiff no less than 25 additional times without permission after being told
that this was a cell phone and told to not call the Plaintiff. ( See Exhibit A
attached hereto and incorporated herein for all purposes )

Each one of these 26 calls have been made using an automated dialing system.

On or about January ll, 2013, the Defendant mailed the Plaintif‘f a demand letter
communication regarding demand for payment while knowing the account is not

owned, owed or due by Plaintit’f to Defendant. (See Exhibit B)

Plaintiff has never received any notice or an assignment of any debt to the
Defendant.
The communications alleged in paragraphs 9, 10, ll and 12 are all related to the
collection of an alleged consumer debt by the Defendant.
The acts alleged herein primarily took place in Orange County in that the
communications were received there.

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Case 6:14-CV-00614-CEI\/|-TBS Document 1 Filed 04/18/14 Page 4 of 9 Page|D 4

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Plaintiff has never given Defendant permission to ca11 Plaintiff’ s cell phone.
Plaintiff has never had any contractual obligation or business relationship with

Defendant whatsoever.

PlaintifF s cell number that the Defendant made all calls to listed in Exhibit A was
at all times relevant hereto and is still registered on the F ederal Do-Not-Call

official list of telephone numbers not to call.

coUNT oNE
vloLATIoNs oF FAIR DEBT
coLLEc'rloN PRACHCES ACT
(FDCPA), 15 U.s.c. §1692

Plaintiff tie-alleges and incorporates the information in paragraphs l through 18.
Plaintiff is a consumer within the meaning of the FDCPA, 15 U.S.C. §1692a(3).

The alleged debt in question that the Defendant alleges Plaintiff owes and which is the

subject of the calls and mailings to the Plaintiff by Defendant, was a debt for personal,

family or house hold purposes according to Defendant.

Defendant is a debt collector within the meaning of the FDCPA, 15 U.S.C. §1692a(6)
as debt collection is part of its ordinary business practice and Defendant regularly
collects debts of behalf of others.

The making of the cell phone calls from January 2013 through September
2013 are 27 separate and distinct violations of 15 U.S.C. Section
l 692c(a)(2).

The sending of the January l l, 2013 demand letter without prior notice of
assignment and when Plaintiff does not owe any sum to Defendant is a
violation of 15 U.S.C. Section l692c(a)(2).

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Case 6:14-CV-00614-CEI\/|-TBS Document 1 Filed 04/18/14 Page 5 of 9 Page|D 5

WHEREFORE, Plaintiff demands judgment for damages against Defendant for
actual or statutory damages, and punitive damages, attomey's fees and costs, pursuant
to 15 U.S.C §1692.

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PRACTrcEs ACT (FCCPA), FLA. sTAT. §ss9(Pan vl)

25. Plaintiff alleges and incorporates the information in paragraphs l through 22 above.
26. Plaintiff is a consumer within the meaning of FLA. STAT. §559 (2).

27. The debt that Defendant alleges was due was for personal, family or house hold

purposes.

28. Defendant is a debt collector within the meaning of the FCCPA, §559.55(6) as
debt collection is part of its ordinary business practice and Defendant
regularly collects debts of behalf of others.

29. The sending of the January 11, 2013 statement demanding payment and the 26
telephone calls demanding payment are each separate and distinct violations of FLA.
STAT. §559.72 (18) which states in part;

“Communicate with a debtor if the person knows that the debtor is represented by
an attorney with respect to such debt and has knowledge of, or can readily
ascertain, such attorney’s name and address, unless the debtor’s attorney fails to
respond within 30 days to a communication from the person, unless the debtor’s
attorney consents to a direct communication with the debtor, or unless the debtor
initiates the communication.”

29. The sending of the statement directly to Plaintiff and the repeated telephone
demand calls to Plaintift’s cell while fully aware that the Plaintiff does not
owe this debt to the Defendant, constitute 27 separate, distinct and temporaly
separated violations of FLA. STAT. §559.72 (18).

Case 6:14-CV-00614-CEI\/|-TBS Document 1 Filed 04/18/14 Page 6 of 9 Page|D 6

WHEREFORE, Plaintiff demands judgment for damages against Defendant, for
actual or statutory civil damages, and punitive damages, attomey's fees and costs, pursuant to

Fla. Stat. Section 559.77(2)

COUNTS THREE TO TWENTY-SIX
DEFENDANT’S VIOLATIONS OF THE TELEPHONE
CONSUMER PROTECTION ACT 47 U.S.C.
§227(b)(l)(A)(iii)

30. Plaintiff alleges and incorporates paragraphs l through 24 above.

31. Defendant has demonstrated willful or knowing non-compliance with 47 U.S.C.
§227(b)(l)(A) (iii) by using an automatic telephone dialing system to call Plaintiff’s
cell phone.

32. Defendant has demonstrated willful or knowing non-compliance with 47 U.S.C.
§227(b)( l )(A)(iii) by calling the Plaintift’s phone number, which is assigned to a
cellular telephone service when Defendant knew and was told that this phone was a

cell phone contrary 47 U.S.C. §227(b)(l)(A)(iii) which states in part;

“ (l) PROHIBITIONS.-it shall be unlawful for any person within the United
States, or any person outside the United States if the recipient is within the United
States-

(A) to make any call (other than a call made for emergency purposes or made with
the prior express consent of the called party) using any automatic telephone dialing
system or an artificial or prerecorded voice-

(iii) to any telephone number assigned to a paging service, cellular telephone
service, specialized mobile radio service, or other radio common carrier service, or
any service for which the called party is charged for the call;”

and at (b)(3)(A)

“Private right of action.
A person may. . .bring in an appropriate court of that State-

(A)An action based on a violation of this subsection . . . to enjoin such violation.”

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Case 6:14-CV-00614-CEI\/|-TBS Document 1 Filed 04/18/14 Page 7 of 9 Page|D 7

3 3 . Plaintiff has no prior established relationship with the Defendant.

34. Plaintiff has never given Defendant either express or implied consent to call the
Plaintiff s cell phone.

35. Plaintiff contends that the calls between January 2013 through September, 2013
constitute twenty~six (26) separate and distinct violations of the TCPA.

36. In that this Defendant has repeatedly committed the same type of violations against
Plaintiff and are the same behavior and are intentional, blatant and gross
violations of Plaintiffs rights and the protections intended by the TCPA, the
Plaintiff requests an award of punitive damages against this Defendant to punish
it for these violations and to cause it to be deterred fi'om continuing to blatantly
violate the TCPA.

WHEREFORE, Plaintiff demands judgment for damages against Defendant for actual

damages, statutory civil damages and punitive damages as well as attomey’s fees, and costs

pursuant to 47 U.S.C. §227.

COUNTS TWENTY-SEVEN TO FlF'l'Y-THREE
DEFENDANT’S VIOLATIONS OF THE TELEPHONE
CONSUMER PROTECT[ON ACT 47 U.S.C. §227(¢)(1)(5)

37. Plaintiff alleges and incorporates paragraphs l through 24 above.

38. Defendant has demonstrated willful or knowing non-compliance with 47 U.S.C.

§227(c)(5) and the Rules and Regulations promulgated pursuant to 47 U.S. C. §227(c)(l) for

Do-not-call lists.by using an automatic telephone dialing system to call Plaintiffs

cell phone.

39. At all relevant times the Plaintiffs telephone number that the Defendant kept calling was

listed on the Federal do-no-call list.

Case 6:14-CV-00614-CEI\/|-TBS Document 1 Filed 04/18/14 Page 8 of 9 Page|D 8

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Defendant has demonstrated willfirl or knowing non-compliance with 47 U.S.C.
§227(c)(1) and($) by calling the Plaintiffs phone number, which is assigned to a
cellular telephone service and listed on the do-not-call list when Defendant knew and

was told that this phone was a cell phone contrary 47 U.S.C. §227(c)(l) and (5)

Plaintiff has no prior established relationship with the Defendant.

Plaintiff has never given Defendant either express or implied consent to call the
Plaintiffs cell phone.

Plaintiff contends that the calls between January 2013 through September, 2013
constitute twenty-six (26) separate and distinct violations of the TCPA.

In that this Defendant has repeatedly committed the same type of violations against
Plaintiff and are the same behavior and are intentional, blatant and gross
violations of Plaintiffs rights and the protections intended by the TCPA, the
Plaintiff requests an award of punitive damages against this Defendant to punish
it for these violations and to cause it to be deterred from continuing to blatantly

violate the TCPA.

WHEREFORE, Plaintiff demands judgment for damages against Defendant for actual

damages, statutory civil damages and punitive damages as well as attomey’s fees, and costs

pursuant to 47 U.S.C. §227.

DEMAND FOR JURY TRIAL

Case 6:14-CV-00614-CEI\/|-TBS Document 1 Filed 04/18/14 Page 9 of 9 Page|D 9

Plaintiff hereby demands a trial by jury of all issues so triable as a matter of

law.

 

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